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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
              Plaintiff,                     )
                                             )
v.                                           )      No. 4:10CR48 HEA
                                             )
KEVIN W. STACY,                              )
                                             )
              Defendant.                     )

                                            ORDER

       IT IS HEREBY ORDERED that a change of plea hearing is set in this matter for

Wednesday, April 14, 2010, at 10:30 a.m. in the courtroom of the undersigned.

       Dated this 7th day of April, 2010.




                                             ________________________________
                                                HENRY EDWARD AUTREY
                                              UNITED STATES DISTRICT JUDGE
